Case 1:04-cr-10023-.]DT Document 83 Filed 04/19/05 Page 1 of 7 PagelD 91
UN|TED STATES DlSTRlCT COURT

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-v- 04-10023-02-T CF%’H»\'-, § g§f¥uo
ltd f,»i-- ."§~\.S»Q.CKSON`

BR|AN M|LLER

J. Colin Morris CJA

Defense Attorney

204 West Baltimore

Jackson, TN 38302-1623

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guiltth Count 18 and 48 of the Superseding indictment on January

18, 2005. Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Offense Count

Title & section M_s_e Co_ncl_uM Nu_mMsl
21 U. S.C. § 841 (a)(1 );18 Possession with intent to Distribute 08/20/2002 18
U.S.C. § 2 Cocaine Base; Aiding and Abetting
21 U.S.C. § 841(a)(1) Possession with intent to Distribute 09/21/2004 48

Cocaine Base

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count 3 dismissed on the motion of the United States.
lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 02/20/1980 April 18, 2005
Deft’s U.S. Marshal No.: 19349-076

'l'hls document entered en the dockets in mpiiance
with Rule 55 and/or 32(b) FRCrP on \

Case 1:04-cr-10023-.]DT Document 83 Filed 04/19/05 Page 2 of 7 PagelD 92
Case No: 1:04cr10023-O2-T Defendant Name: Brian Mil|er Page 2 of 6

Defendant’s Mai|ing Address:

1490 Dickey Road
Ramer, TN 38367

    

21 . M
JAMEs .Tooo

CH|EF ITED STATES DlSTR|CT JUDGE

April f 2 ,2005

Case 1:04-cr-10023-.]DT Document 83 Filed 04/19/05 Page 3 of 7 PageiD 93

Case No: 1:04cr10023-02-T Defendant Name: Brian Nliiier Page 3 of 6
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 120 Months as to Counts 18 and 48 of the
Superseding indictment, concurrently.

The Court recommends to the Bureau of Prisons: institution as close to defendants
home in NicNairy County, Tennessee as possible, where defendant can receive intensive
residential drug abuse treatment.

The defendant is remanded to the custody of the United States Marshai.

RETU RN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

Case 1:04-cr-10023-.]DT Document 83 Filed 04/19/05 Page 4 of 7 PageiD 94

Case No: 1:04cr10023-02-T Defendant Name: Brian Miiler Page 4 of 6

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 5 years as to each of Counts 18 and 48 , concurrent.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERViSION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer tmthfui ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable rsasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician. and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

Case 1:04-cr-10023-.]DT Document 83 Filed 04/19/05 Page 5 of 7 PageiD 95

Case No: 1:04cr10023-02-T Defendant Name: Brian Miiier Page 5 of 6

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permits probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law

enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the 8cheduie of Payments set
forth in the Criminai Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program of testing and treatment for drug
and alcohol abuse as directed by the probation officer until such time as the defendant is
released from the program by the probation officer.

2. Th defendant shall cooperate with the United States Probation Office in the collection of
DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the 8cheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the 8cheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Totai Restitution
$200.00

Case 1:04-cr-10023-.]DT Document 83 Filed 04/19/05 Page 6 of 7 PageiD 96

Case No: 1:04cr10023-02-T Defendant Name: Brian Miiier Page 6 of 6

The Speciai Assessment shall be due immediateiy.
FlNE
No fine imposed.

REST|TUT|ON

No Restitution was ordered .

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 1:04-CR-10023 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
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Jackson, TN 38301

J. Colin Morris

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204 W. Baltimore

Jackson, TN 38302--162

C. Mark Donahoe

HARDEE MARTIN DAUSTER & DONAHOE
P.O. BOX 98

Jackson, TN 38302

Honorable J ames Todd
US DISTRICT COURT

